                               Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 1 of 53


    Fill in this information to identify the case:


    United States Bankruptcy Court for the Southern District of Texas

    Case number (if known):                                     Chapter 11

                                                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                            04/20

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
 number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                CEC Entertainment, Inc.


   2.   All other names debtor used                  Chuck E. Cheese, Chuck E. Cheese of Gaithersburg, Inc., CEC of Hagerstown, Inc.,
        in the last 8 years                          CEC of Landover, Inc., Show Biz of Laurel, Inc., CEC Salisbury, Inc., Chuck E. Cheese’s,
        Include any assumed names, trade             Chuck E. Cheese of Waldorf, Inc., Chuck E. Cheese of Glen Burnie, Inc.
        names, and doing business as
        names



   3.   Debtor’s federal Employer                    XX-XXXXXXX
        Identification Number (EIN)


   4.   Debtor’s address                             Principal place of business                                           Mailing address, if different from principal
                                                                                                                           place of business


                                                     1707       Market Place Boulevard
                                                     Number     Street                                                     Number                    Street


                                                     Suite 200
                                                                                                                           P.O. Box


                                                     Irving                      TX                   75063
                                                     City                        State                ZIP Code             City                      State        ZIP Code

                                                                                                                           Location of principal assets, if different from
                                                                                                                           principal place of business
                                                     Dallas
                                                     County
                                                                                                                           Number            Street




                                                                                                                           City              State            ZIP Code




   5.   Debtor’s website (URL)                       https://www.chuckecheese.com/


   6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                     ☐ Partnership (excluding LLP)
                                                     ☐ Other. Specify:

Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              Page 1
                         Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 2 of 53
Debtor          CEC Entertainment, Inc.                                                                    Case number (if known)   20-_____ ( )
                Name




                                             A. Check one:
7.   Describe debtor’s business
                                             ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                             ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             ☒   None of the above


                                             B. Check all that apply:
                                             ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225 – Restaurants and Other Eating Places

8.   Under which chapter of the
                                             Check one:
     Bankruptcy Code is the
     debtor filing?                          ☐ Chapter 7
                                             ☐ Chapter 9
                                             ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                        ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
     debtor” must check the first sub-box.                      and its aggregate noncontingent liquidated debts (excluding debts owed to
     A debtor as defined in § 1182(1)                           insiders or affiliates) are less than $2,725,625. If this sub-box is selected,
     who elects to proceed under                                attach the most recent balance sheet, statement of operations, cash-flow
     subchapter V of chapter 11 (whether                        statement, and federal income tax return or if any of these documents do
     or not the debtor is a “small                              not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     business debtor”) must check the                         ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate
     second sub-box.
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $7,500,000 and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                sheet, statement of operations, cash-flow statement, and federal income tax
                                                                return or if any of these documents do not exist, follow the procedure in 11
                                                                U.S.C. § 1116(1)(B).
                                                              ☐ A plan is being filed with this petition.
                                                              ☐ Acceptances of the plan were solicited prepetition from one or more classes
                                                                of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                Securities Exchange Act of 1934. File the Attachment to Voluntary Petition
                                                                for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form
                                                                201A) with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                1934 Rule 12b-2.

                                             ☐ Chapter 12
9.   Were prior bankruptcy cases             ☒ No
     filed by or against the debtor
     within the last 8 years?                ☐ Yes        District                       When                              Case number
                                                                                                       MM/ DD/ YYYY
     If more than 2 cases, attach a
     separate list.
                                                          District                       When                              Case number
                                                                                                       MM / DD/ YYYY




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    Page 2
                          Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 3 of 53
Debtor          CEC Entertainment, Inc.                                                                     Case number (if known)     20-_____ ( )
                Name


10. Are any bankruptcy cases                 ☐ No
    pending or being filed by a
    business partner or an                   ☒ Yes           Debtor       See Schedule 1                                      Relationship      See Schedule 1
    affiliate of the debtor?                                 District     Southern District of Texas                          When              June 24, 2020
     List all cases. If more than 1,                                                                                                            MM / DD/ YYYY
                                                             Case number, if known
     attach a separate list.



   11. Why is the case filed in this             Check all that apply:
       district?
                                                 ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                      immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                      district.
                                                 ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have
                                             ☐ No
    possession of any real
    property or personal property            ☒ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                           Why does the property need immediate attention? (Check all that apply.)
                                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                              health or safety.

                                                             What is the hazard?
                                                         ☐    It needs to be physically secured or protected from the weather.
                                                         ☒    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                              without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                              securities-related assets or other options).


                                                         ☐ Other


                                                          Where is the property?           Multiple venues located across the United States
                                                                                           Number                    Street


                                                                                           City                               State               ZIP Code
                                                         Is the property insured?
                                                                                          ☐ No
                                                                                           ☒ Yes. Insurance agency            Travelers | National Property
                                                                                                     Contact Name             Brian E. Ferguson
                                                                                                     Phone                    214.570.6192




                Statistical and administrative information



   13. Debtor’s estimation of                Check one:
       available funds                       ☒    Funds will be available for distribution to unsecured creditors.
                                             ☐    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of                   ☐    1-49                                 ☐     1,000-5,000                              ☐      25,001-50,000
       creditors                             ☐    50-99                                ☒     5,001-10,000                             ☐      50,001-100,000
         (on a consolidated basis with all   ☐    100-199                              ☐     10,001-25,000                            ☐      More than 100,000
         affiliated debtors)
                                             ☐    200-999



Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               Page 3
                          Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 4 of 53
Debtor          CEC Entertainment, Inc.                                                                     Case number (if known)   20-_____ ( )
                Name



   15. Estimated assets                      ☐   $0-$50,000                            ☐     $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million                 ☒   $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million                ☐   $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million               ☐   More than $50 billion

   16. Estimated liabilities                 ☐   $0-$50,000                            ☐     $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million                 ☒   $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million                ☐   $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million               ☐   More than $50 billion



                Request for Relief, Declaration, and Signatures


WARNING − Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
          up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
     17. Declaration and signature of                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
         authorized representative of                   this petition.
         debtor
                                                       I have been authorized to file this petition on behalf of the debtor.

                                                       I have examined the information in this petition and have a reasonable belief that the information is
                                                        true and correct.
                                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                            Executed on June 24, 2020
                                                                        MM / DD / YYYY




                                                            /s/ James A. Howell                                         James A. Howell
                                                             Signature of authorized representative of                   Printed name
                                                             debtor

                                                             Chief Financial Officer
                                                             Title



     18. Signature of attorney                          /s/ Alfredo R. Pérez                                          Date      June 24, 2020
                                                         Signature of attorney for debtor                                        MM / DD / YYYY

                                                         Alfredo R. Pérez                                              Matthew S. Barr
                                                         Printed Name

                                                         Weil, Gotshal & Manges LLP                                    Weil, Gotshal & Manges LLP
                                                         Firm Name

                                                         700 Louisiana Street, Suite 1700                              767 Fifth Avenue
                                                         Address

                                                         Houston, Texas 77002                                          New York, New York 10153
                                                         City/State/Zip

                                                         (713) 546-5000                                                (212) 310-8000
                                                         Contact Phone

                                                         alfredo.perez@weil.com                                        matt.barr@weil.com
                                                         Email Address

                                                         15776275                            Texas
                                                         Bar Number                          State


Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          Page 4
     Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 5 of 53




                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


                                                 §
In re:                                           §    Chapter 11
                                                 §
CEC ENTERTAINMENT, INC., et al.,                 §    Case No. 20-_____ (___)
                                                 §
                       Debtor.                   §
                                                 §

                  Attachment to Voluntary Petition for Non-Individuals
                        Filing for Bankruptcy under Chapter 11

1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange
   Act of 1934, the SEC file number is        1-13687 .
2. The following financial data is the latest available information and refers to the debtor’s
   condition on March 29, 2020.
    a.    Total assets                                                  $1,743,518,039
    b.    Total debts (including debts listed in 2.c, below)            $1,998,548,744
    c.    Debt securities held by more than 500 holders                 N/A
                                                                                Approximate
                                                                                 number of
                                                                                  holders:
secured    unsecured       subordinated      $
secured    unsecured       subordinated      $
secured    unsecured       subordinated      $
secured    unsecured       subordinated      $
secured    unsecured       subordinated      $

    d. Number of shares of preferred stock           0
    e. Number of shares common stock               200
       Comments, if any:__________________________________________
3. Brief description of debtor’s business: The Debtors (defined below), together with their
   non-debtor affiliates, are a leading family entertainment and dining company with a global
   network of dining, entertainment, and arcade centers that are operated and franchised under
   the names “Chuck E. Cheese” and “Peter Piper Pizza.”
4. List the names of any person who directly or indirectly owns, controls, or holds, with power
   to vote, 5% or more of the voting securities of debtor: Queso Holdings Inc. -100%
         Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 6 of 53




                                              Schedule 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

            On the date hereof, each of the affiliated entities listed below (including the debtor in
this chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter
11 of title 11 of the United States Code in the United States Bankruptcy Court for the Southern
District of Texas. The Debtors have filed a motion requesting that the chapter 11 cases of these
entities be consolidated for procedural purposes only and jointly administered pursuant to Rule
1015(b) of the Federal Rules of Bankruptcy Procedure.

                                            COMPANY
                      BHC Acquisition Corporation
                      CEC Entertainment Concepts, L.P.
                      CEC Entertainment Holdings, LLC
                      CEC Entertainment, Inc.
                      CEC Entertainment International, LLC
                      CEC Entertainment Leasing Company
                      CEC Leaseholder, LLC
                      CEC Leaseholder #2, LLC
                      Hospitality Distribution Incorporated
                      Peter Piper Holdings, Inc.
                      Peter Piper, Inc.
                      Peter Piper Texas, LLC
                      Peter Piper Mexico, LLC
                      Queso Holdings Inc.
                      SB Hospitality Corporation
                      SPT Distribution Company, Inc.
                      Texas PP Beverage, Inc.
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 7 of 53




                             CERTIFICATE OF RESOLUTIONS


                                         June 24, 2020


The undersigned, Rodolfo Rodriguez, Jr., Secretary of CEC Entertainment, Inc., a Kansas
corporation (the “Company”), hereby certifies as follows:

   A. I am a duly qualified and elected officer of the Company and, as such, I am familiar with
      the facts herein certified and I am duly authorized to certify the same on behalf of the
      Company;

   B. Attached hereto as Exhibit “A” is a true, complete and correct copy of the Resolutions
      adopted by the Board of Directors of the Company in accordance with the Articles of
      Incorporation of the Company, as Amended and Restated, and the Bylaws of the
      Company, as Amended and Restated; and

   C. Such Resolutions have not been amended, altered, annulled, rescinded or revoked and are
      in full force and effect as of the date hereof. There exist no other subsequent resolutions
      relating to the matters set forth in the resolutions attached hereto.


IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date first
written above.



                                                    ____________________________________
                                                    Rodolfo Rodriguez, Jr.
                                                    Secretary
          Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 8 of 53



                                         RESOLUTION BY THE
                                       BOARD OF DIRECTORS OF
                                      CEC ENTERTAINMENT, INC.

                 WHEREAS, the board of directors (the “Board”) of CEC Entertainment, Inc., a Kansas
corporation (the “Company”), has reviewed and had the opportunity to ask questions about the materials
presented by the management and the legal and financial advisors of the Company regarding the liabilities
and liquidity of the Company, the strategic alternatives available to it and the impact of the foregoing on
the Company’s businesses; and

                 WHEREAS, the Board has had the opportunity to consult with the management and the
legal and financial advisors of the Company to fully consider each of the strategic alternatives available to
the Company; and

                WHEREAS, the Board believes that commencing a Chapter 11 Case (as defined below)
and taking the actions set forth below are in the best interests of the Company and, therefore, desires to
approve the following resolutions.

I.      Commencement of Chapter 11 Case

                  NOW, THEREFORE, BE IT RESOLVED, that the Board has determined, after due
consultation with the management and the legal and financial advisors of the Company, that it is desirable
and in the best interests of the Company, its creditors, and other parties in interest that a petition be filed by
the Company seeking relief under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”); and be it further

                 RESOLVED, that any officer or director of the Company (each, an “Authorized
Officer”), in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed
to execute and file in the name and on behalf of the Company, and under its corporate seal or otherwise, all
petitions, schedules, statements, motions, lists, applications, pleadings, orders, and other documents in the
United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”), and, in
connection therewith, to employ and retain all assistance by legal counsel, accountants, financial advisors,
investment bankers and other professionals, and to take and perform any and all further acts and deeds
which such Authorized Officer, who may act without the joinder of any other Authorized Officer, deems
necessary, proper, or desirable in connection with the Company’s chapter 11 case (the “Chapter 11 Case”),
including, without limitation, continuing to use cash in the ordinary course and negotiating, executing,
delivering, and performing any and all documents, agreements, certificates, and/or instruments in
connection with the transactions and professional retentions set forth in this resolution, with a view to the
successful prosecution of such Chapter 11 Case; and be it further

II.     Retention of Advisors

                 RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth
Avenue, New York, New York 10153, is hereby retained as attorneys for the Company in its Chapter 11
Case, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that FTI Consulting, Inc., located at 2001 Ross Avenue, Suite 650, Dallas,
Texas 75201, is hereby retained as financial advisor for the Company in its Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further
         Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 9 of 53



               RESOLVED, that PJT Partners LP, located at 280 Park Avenue, New York, New York
10017, is hereby retained as investment banker for the Company in its Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

                 RESOLVED, that Hilco Real Estate, LLC, located at 5 Revere Dr., Suite 320 Northbrook,
Illinois 60062, is hereby retained as real estate advisor for the Company in its Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

                RESOLVED, that Prime Clerk, LLC, located at One Grand Central Place, 60 East 42nd
Street, Suite 1440, New York, New York 10165, is hereby retained as claims, noticing and solicitation
agent for the Company in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

III.    Ratification

                 RESOLVED, that any Authorized Officer, who may act without the joinder of any other
Authorized Officer, is hereby authorized, empowered, and directed, in the name and on behalf of the
Company, to cause the Company to enter into, execute, deliver, certify, file and/or record, and perform,
such agreements, instruments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authorities, certificates, or other documents, and to take such other actions
that in the judgment of any Authorized Officer, who may act without the joinder of any other Authorized
Officer, shall be or become necessary, proper, or desirable in connection with the Chapter 11 Case; and be
it further

                  RESOLVED, that any and all past actions heretofore taken by any Authorized Officer in
the name and on behalf of the Company in furtherance of any or all of the preceding resolutions be, and the
same hereby are, ratified, confirmed, and approved in all respects as the acts and deeds of the Company;
and be it further

                 RESOLVED, that the Secretary of the Company is authorized to place a copy of this
consent in the official records of the Company to document the actions set forth herein as actions taken by
the Board; and be it further

IV.     Subsidiary Actions

              RESOLVED, that the Board hereby authorizes and instructs the governing bodies of each
of the Company’s subsidiaries to adopt substantially similar resolutions to the resolutions set forth above.




                                                     2
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 10 of 53



                                        ACTION BY
                                   WRITTEN CONSENT OF
                                THE GOVERNING BODIES OF
                                   QUESO HOLDINGS, INC.
                          CEC ENTERTAINMENT HOLDINGS, LLC
                           CEC ENTERTAINMENT CONCEPTS, L.P.
                             BHC ACQUISITION CORPORATION
                        HOSPITALITY DISTRIBUTION INCORPORATED
                              SB HOSPITALITY CORPORATION
                            SPT DISTRIBUTION COMPANY, INC.
                         CEC ENTERTAINMENT LEASING COMPANY
                                  CEC LEASEHOLDER, LLC
                                CEC LEASEHOLDER #2, LLC
                        CEC ENTERTAINMENT INTERNATIONAL, LLC
                               PETER PIPER HOLDINGS, INC.
                                     PETER PIPER, INC.
                                 TEXAS PP BEVERAGE, INC.
                                 PETER PIPER MEXICO, LLC
                                  PETER PIPER TEXAS, LLC

                                               June 24, 2020

                 The required members of the board of directors, the members, the sole manager or the sole
general partner, as the case may be (as applicable, the “Governing Body”), of each of the entities referenced
above (each, a “Company,” and collectively, the “Companies”), do hereby consent to, adopt, and approve,
by written consent in accordance with, as applicable, Section 141(f) of the Delaware General Corporation
Law, Section 18-404(d) of the Delaware Limited Liability Company Act, Sections 6.201 and 101.359 of
the Texas Business Organizations Code, Section 86.291 of the Nevada Limited Liability Company Act,
Section 10-821 of the Arizona Business Corporation Act and Section 29-683 of the Arizona Limited
Liability Company Act, the following resolutions and each and every action effected thereby:

                 WHEREAS, the Governing Body of each Company has reviewed and had the opportunity
to ask questions about the materials presented by the management and the legal and financial advisors of
such Company regarding the liabilities and liquidity of such Company, the strategic alternatives available
to it and the impact of the foregoing on such Company’s businesses; and

                  WHEREAS, the Governing Body of each Company has had the opportunity to consult
with the management and the legal and financial advisors of such Company to fully consider each of the
strategic alternatives available to such Company; and

                 WHEREAS, each Governing Body believes that commencing a Chapter 11 Case (as
defined below) and taking the actions set forth below are in the best interests of the applicable Company
and, therefore, desires to approve the following resolutions.

I.      Commencement of Chapter 11 Case

                  NOW, THEREFORE, BE IT RESOLVED, that each Governing Body of each Company
has determined, after due consultation with the management and the legal and financial advisors of the
applicable Company, that it is desirable and in the best interests of such Company, its creditors, and other
parties in interest that a petition be filed by such Company seeking relief under the provisions of chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”); and be it further
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 11 of 53



                  RESOLVED, that any manager, member, officer or director of such Company (each, an
“Authorized Officer”), in each case, acting singly or jointly, be, and each hereby is, authorized,
empowered, and directed to execute and file in the name and on behalf of such Company, and under its
corporate seal or otherwise, all petitions, schedules, statements, motions, lists, applications, pleadings,
orders, and other documents in the United States Bankruptcy Court for the Southern District of Texas (the
“Bankruptcy Court”), and, in connection therewith, to employ and retain all assistance by legal counsel,
accountants, financial advisors, investment bankers and other professionals, and to take and perform any
and all further acts and deeds which such Authorized Officer, who may act without the joinder of any other
Authorized Officer, deems necessary, proper, or desirable in connection with such Company’s chapter 11
case (each, a “Chapter 11 Case”), including, without limitation, continuing to use cash in the ordinary
course and negotiating, executing, delivering, and performing any and all documents, agreements,
certificates, and/or instruments in connection with the transactions and professional retentions set forth in
this resolution, with a view to the successful prosecution of such Chapter 11 Case; and be it further

II.     Retention of Advisors

                 RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth
Avenue, New York, New York 10153, is hereby retained as attorneys for each Company in its Chapter 11
Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that FTI Consulting, Inc., located at 2001 Ross Avenue, Suite 650, Dallas,
Texas 75201, is hereby retained as financial advisor for each Company in its Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

               RESOLVED, that PJT Partners LP, located at 280 Park Avenue, New York, New York
10017, is hereby retained as investment banker for each Company in its Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

                  RESOLVED, that Hilco Real Estate, LLC, located at 5 Revere Dr., Suite 320 Northbrook,
Illinois 60062, is hereby retained as real estate advisor for each Company in its Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

                RESOLVED, that Prime Clerk, LLC, located at One Grand Central Place, 60 East 42nd
Street, Suite 1440, New York, New York 10165, is hereby retained as claims, noticing and solicitation
agent for each Company in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

III.    Ratification

                 RESOLVED, that any Authorized Officer, who may act without the joinder of any other
Authorized Officer, is hereby authorized, empowered, and directed, in the name and on behalf of each
applicable Company, to cause such Company to enter into, execute, deliver, certify, file and/or record,
and perform, such agreements, instruments, motions, affidavits, applications for approvals or rulings
of governmental or regulatory authorities, certificates, or other documents, and to take such other
actions that in the judgment of any Authorized Officer, who may act without the joinder of any other
Authorized Officer, shall be or become necessary, proper, or desirable in connection with the Chapter 11
Case; and be it further

                RESOLVED, that any and all past actions heretofore taken by any Authorized Officer in
the name and on behalf of the applicable Company in furtherance of any or all of the preceding resolutions
be, and the same hereby are, ratified, confirmed, and approved in all respects as the acts and deeds of such
Company.


                                                                                                           2
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 12 of 53



                  This consent may be executed in two or more counterparts, each of which shall constitute
an original, and all of which shall constitute one and the same instrument. The secretary of each Company
is authorized to place a copy of this consent in the official records of the Company to document the actions
set forth herein as actions taken by the Governing Body of such Company.

                [Remainder of page intentionally left blank. Signature page follows.]




                                                                                                          3
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 13 of 53



                 IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of QUESO HOLDINGS, INC. have executed this unanimous written consent as of the date first
set forth above.




 Name: David McKillips
 Title: Director




 Name: Andrew Jhawar
 Title: Director




 Name: Naveen Shahani
 Title: Director




 Name: Allen R. Weiss
 Title: Director




 Name: Peter Brown
 Title: Director




 Name: Paul Aronzon
 Title: Director




                                [SIGNATURE PAGE TO WRITTEN CONSENT]
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 14 of 53
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 15 of 53
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 16 of 53



                 IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of QUESO HOLDINGS, INC. have executed this unanimous written consent as of the date first
set forth above.




 Name: David McKillips
 Title: Director




 Name: Andrew Jhawar
 Title: Director




 Name: Naveen Shahani
 Title: Director




 Name: Allen R. Weiss
 Title: Director




 Name: Peter Brown
 Title: Director




 Name: Paul Aronzon
 Title: Director




                                [SIGNATURE PAGE TO WRITTEN CONSENT]
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 17 of 53
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 18 of 53
       Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 19 of 53



          IN WITNESS WHEREOF, the undersigned, being the sole manager of CEC
ENTERTAINMENT HOLDINGS, LLC, has executed this written consent as of the date first set forth
above.




                                           By:  Roger Cardinale
                                           Name: Roger Cardinale
                                           Title: Sole Manager




                              [SIGNATURE PAGE TO WRITTEN CONSENT]
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 20 of 53
       Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 21 of 53



                   IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of BHC ACQUISITION CORPORATION have executed this unanimous written consent as of
the date first set forth above.




 Name: Maribel Alamillo
 Title: Director




 Name: Daphne Woolfolk
 Title: Director




 Name: Mark Hullinger
 Title: Director




                               [SIGNATURE PAGE TO WRITTEN CONSENT]
       Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 22 of 53



                   IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of BHC ACQUISITION CORPORATION have executed this unanimous written consent as of
the date first set forth above.




 Name: Maribel Alamillo
 Title: Director




 Daphne Woolfolk
 Name: Daphne Woolfolk
 Title: Director




 Name: Mark Hullinger
 Title: Director




                               [SIGNATURE PAGE TO WRITTEN CONSENT]
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 23 of 53
       Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 24 of 53



                 IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of HOSPITALITY DISTRIBUTION INCORPORATED have executed this unanimous written
consent as of the date first set forth above.




 Name: David A. Deck
 Title: Director




 Name: Daphne Woolfolk
 Title: Director




                              [SIGNATURE PAGE TO WRITTEN CONSENT]
       Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 25 of 53



                 IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of HOSPITALITY DISTRIBUTION INCORPORATED have executed this unanimous written
consent as of the date first set forth above.




 Name: David A. Deck
 Title: Director




 Daphne Woolfolk
 Name: Daphne Woolfolk
 Title: Director




                              [SIGNATURE PAGE TO WRITTEN CONSENT]
       Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 26 of 53



                   IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of SB HOSPITALITY CORPORATION have executed this unanimous written consent as of the
date first set forth above.




 Name: Maribel Alamillo
 Title: Director




                               [SIGNATURE PAGE TO WRITTEN CONSENT]
       Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 27 of 53



                   IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of SPT DISTRIBUTION COMPANY, INC. have executed this unanimous written consent as of
the date first set forth above.




  Roger Cardinale
 Name: J. Roger Cardinale
 Title: Director




 Name: Tony Howard
 Title: Director




 Name: Blake Huggins
 Title: Director




                               [SIGNATURE PAGE TO WRITTEN CONSENT]
           Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 28 of 53



                   ,1:,71(66:+(5(2)WKHXQGHUVLJQHGEHLQJDOORIWKHPHPEHUVRIWKHERDUGRI
GLUHFWRUVRI637',675,%87,21&203$1<,1&KDYHH[HFXWHGWKLVXQDQLPRXVZULWWHQFRQVHQWDVRI
WKHGDWHILUVWVHWIRUWKDERYH

                                                  
                                                                             
    
                             
    1DPH-5RJHU&DUGLQDOH
    7LWOH'LUHFWRU
    
    
    Tony Howard
    
                             
    1DPH7RQ\+RZDUG
    7LWOH'LUHFWRU
    
    
    
    
                             
    1DPH%ODNH+XJJLQV
    7LWOH'LUHFWRU
    




                                     >6,*1$785(3$*(72:5,77(1&216(17@

Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 29 of 53
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 30 of 53
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 31 of 53
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 32 of 53
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 33 of 53
       Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 34 of 53



          ,1 :,71(66 :+(5(2) WKH XQGHUVLJQHG EHLQJ DOO RI WKH PDQDJHUV RI &(&
/($6(+2/'(5//&KDYHH[HFXWHGWKLVZULWWHQFRQVHQWDVRIWKHGDWHILUVWVHWIRUWKDERYH

                                             
                                             
                                             %\                    
                                             1DPH 0DUN+XOOLQJHU
                                             7LWOH 0DQDJHU


                                             
                                                   Tony Howard
                                             %\                    
                                             1DPH 7RQ\+RZDUG
                                             7LWOH 0DQDJHU


                                             
                                             
                                             %\                    
                                             1DPH %ODNH+XJJLQV
                                             7LWOH 0DQDJHU


                           




                                >6,*1$785(3$*(72:5,77(1&216(17@

Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 35 of 53
       Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 36 of 53



             IN WITNESS WHEREOF, the undersigned, being all of the managers of CEC
ENTERTAINMENT INTERNATIONAL, LLC have executed this written consent as of the date first set
forth above.




                                          By:
                                          Name: David A. Deck
                                          Title: Manager



                                          By:
                                          Name: Blake Huggins
                                          Title: Manager




                             [SIGNATURE PAGE TO WRITTEN CONSENT]
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 37 of 53
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 38 of 53



                  IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of PETER PIPER HOLDINGS, INC. have executed this unanimous written consent as of the date
first set forth above.




 Name: David McKillips
 Title: Director




 Name: J. Roger Cardinale
 Title: Director




                                [SIGNATURE PAGE TO WRITTEN CONSENT]
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 39 of 53



                  IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of PETER PIPER HOLDINGS, INC. have executed this unanimous written consent as of the date
first set forth above.




 Name: David McKillips
 Title: Director




Roger Cardinale
 Name: J. Roger Cardinale
 Title: Director




                                [SIGNATURE PAGE TO WRITTEN CONSENT]
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 40 of 53



                IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of PETER PIPER, INC. have executed this unanimous written consent as of the date first set forth
above.




 Name: David McKillips
 Title: Director




 Name: J. Roger Cardinale
 Title: Director




                                  [SIGNATURE PAGE TO WRITTEN CONSENT]
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 41 of 53



                IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of PETER PIPER, INC. have executed this unanimous written consent as of the date first set forth
above.




 Name: David McKillips
 Title: Director



  Roger Cardinale
 Name: J. Roger Cardinale
 Title: Director




                                  [SIGNATURE PAGE TO WRITTEN CONSENT]
       Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 42 of 53



                  IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of TEXAS PP BEVERAGE, INC. have executed this unanimous written consent as of the date
first set forth above.




 Name: David A. Deck
 Title: Director




                               [SIGNATURE PAGE TO WRITTEN CONSENT]
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 43 of 53
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 44 of 53
                               Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 45 of 53



    Fill in this information to identify the case:

    Debtor name: CEC Entertainment, Inc.
    United States Bankruptcy Court for the Southern District of Texas
                                                  (State)
    Case number (If known):                                                                                                                           ☐ Check if this is an
                                                                                                                                                      amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders                                12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.


Name of creditor and complete mailing           Name, telephone number, and email             Nature of the       Indicate if    Amount of unsecured claim
address, including zip code                     address of creditor contact                     claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                             example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                               debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                                  loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                              professional
                                                                                              services, and
                                                                                              government
                                                                                                contracts)
                                                                                                                                  Total claim, if      Deduction for         Unsecured
                                                                                                                                    partially             value of             claim
                                                                                                                                    secured             collateral or
                                                                                                                                                           setoff
1       Attn.: Wilmington Trust, National       Attn.:                                      Noteholders                                                                    $215,721,000
        Association                             Phone:
        PO Box 8955, Wilmington, DE             Facsimile: (only if no email)
        19899-8955                              Email:

2       Attn.: National Retail Properties, LP   Attn.: Vice President – Asset Management    Leases                                                                        $2,788,603
        450 S. Orange Avenue, Orlando, FL       Phone:
        32801                                   Facsimile: (only if no email)
                                                Email:

3       Attn.: Aon Risk Services Southwest      Attn.:                                      Trade Debt                                                                    $1,261,726
        Inc                                     Phone:
        PO Box 955816, St. Louis, MO            Facsimile: (only if no email)
        63195-5816                              Email:

4       Attn.: CDW Computer Centers, Inc.       Attn.:                                      Trade Debt                                                                    $555,855
        PO Box 75723, Chicago, IL 60675-        Phone:
        5723                                    Facsimile: (only if no email)
                                                Email:

5       Attn.: Microsoft Corporation            Attn.:                                      Trade Debt                                                                    $529,073
        Lock Box 842467, Dallas, TX 75207       Phone:
                                                Facsimile: (only if no email)
                                                Email:

6       Attn.: Parkway Construction &           Attn.:                                      Trade Debt                                                                    $428,288
        Assoc                                   Phone:
        1000 Civic Circle, Lewisville, TX       Facsimile: (only if no email)
        75067                                   Email:

7       Attn.: Index Promotions, Inc.           Attn.:                                      Trade Debt                                                                    $345,00
        10100 Venice Blvd., Culver City, CA     Phone:
        90232                                   Facsimile: (only if no email)
                                                Email:




    Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 1
                               Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 46 of 53
    Debtor      CEC Entertainment, Inc.                                                                   Case number (if known)
                Name

Name of creditor and complete mailing          Name, telephone number, and email             Nature of the       Indicate if    Amount of unsecured claim
address, including zip code                    address of creditor contact                     claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                            example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                              debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                                 loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                             professional
                                                                                             services, and
                                                                                             government
                                                                                               contracts)
                                                                                                                                   Total claim, if    Deduction for         Unsecured
                                                                                                                                     partially           value of             claim
                                                                                                                                     secured           collateral or
                                                                                                                                                          setoff
8       Attn.: Hartman SPE, LLC                Attn.:                                      Leases                                                                        $289,309
        2909 Hillcroft St., Suite 420,         Phone: (972) 550-0544
        Houston, TX 77057                      Facsimile: (only if no email)
                                               Email:

9       Attn.: Andamiro USA Corp               Attn.:                                      Trade Debt                                                                    $272,546
        17230 S. Main St., Gardena, CA         Phone:
        90248                                  Facsimile: (only if no email)
                                               Email:

10      Attn.: BTM Development Partners,       Attn.:                                      Leases                                                                        $230,888
        LLC                                    Phone: (212) 801-1083
        60 Columbus Circle, 19th Floor, New    Facsimile: (only if no email)
        York, NY 10023                         Email:

11      Attn.: Regency Centers Corporation     Attn.:                                      Leases                                                                        $228,299
        One Independent Drive,                 Phone: (904) 598-7000
        Jacksonville, FL 32202-5019            Facsimile: (only if no email)
                                               Email:

12      Attn.: PWR16-48-18 Northern Blvd,      Attn.: REO Asset Management                 Leases                                                                        $169,733
        LLC                                    Phone:
        c/o C-III Asset Management LLC         Facsimile: (only if no email)
        5221 N O’Connor Blvd, #600, Irving     Email:
        TX 75039
13      Attn.: Krausz FT One, L.P.             Attn.:                                      Leases                                                                        $145,497
        c/o The Krausz Companies, Inc.         Phone:
        44 Montgomery St., Suite 2388, San     Facsimile: (only if no email)
        Francisco, CA 94104-4806               Email:

14      Attn.: Deltronic Labs Inc.             Attn.:                                      Trade Debt                                                                    $141,467
        120 Liberty Ln., Chalfont, PA 18914-   Phone:
        1820                                   Facsimile: (only if no email)
                                               Email:

15      Attn.: Federal Realty Investment       Attn.: (301) 998-8100                       Leases                                                                        $141,129
        Trust                                  Phone:
        1626 E. Jefferson St., Rockville, MD   Facsimile: (only if no email)
        20852                                  Email:

16      Attn.: Portal Plaza, LP                Attn.:                                      Leases                                                                        $136,110
        c/o Yamaoka Associates, Inc.           Phone:
        1307 S. Mary Ave., Sunnyvale, CA       Facsimile: (only if no email)
        94087                                  Email:

17      Attn.: CIII, JPMCC05-CIOBC11;          Attn.:                                      Leases                                                                        $134,580
        Shoppes at IV                          Phone:
        c/o CBRE Inc.                          Facsimile: (only if no email)
        250 New Phele Avenue, 6th Floor,       Email:
        Saddle Brook, NJ 07663
18      Attn.: Pickett LLC                     Attn.:                                      Leases                                                                        $124,267
        c/o Combined Properties, Inc.          Phone: (202) 293-4500
        1025 Thomas Jefferson St. NW,          Facsimile: (only if no email)
        Washington, DC 20007                   Email:




    Official Form 204                                   List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 2
                           Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 47 of 53
 Debtor     CEC Entertainment, Inc.                                                                      Case number (if known)
            Name

Name of creditor and complete mailing        Name, telephone number, and email              Nature of the       Indicate if    Amount of unsecured claim
address, including zip code                  address of creditor contact                      claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                           example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                             debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                                loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                            professional
                                                                                            services, and
                                                                                            government
                                                                                              contracts)
                                                                                                                                  Total claim, if    Deduction for         Unsecured
                                                                                                                                    partially           value of             claim
                                                                                                                                    secured           collateral or
                                                                                                                                                         setoff
19   Attn.: RPT Realty, L.P.                 Attn.:                                       Leases                                                                        $124,140
     RLV Cypress Point, LP, Southfield, MI   Phone:
     48076                                   Facsimile: (only if no email)
                                             Email:

20   Attn.: Village Crossing                 Attn.:                                       Leases                                                                        $121,706
     c/o CBRE                                Phone:
     700 Commerce Drive, Suite 450, Oak      Facsimile: (only if no email)
     Brook, IL 60523                         Email:

21   Attn.: Centennial Lakes Plaza, LLC      Attn.: VRS Asset Management                  Leases                                                                        $118,653
     7 Giralda Farms, Madison NJ 07940       Phone:
                                             Facsimile: (only if no email)
                                             Email:

22   Attn.: Saul Subsidiary I Limited        Attn.:                                       Leases                                                                        $115,056
     Partnership                             Phone:
     c/o Windham Management                  Facsimile: (only if no email)
     Company                                 Email:
     7501 Wisconsin Ave., Bethesda, MD
     20814-6522
23   Attn.: ROIC California, LLC             Attn.: Chief Operating Officer               Leases                                                                        $114,715
     c/o Retail Opportunity Investments      Phone: (858) 677-0900
     Corp                                    Facsimile: (only if no email)
     11250 El Camino Real, Suite 200,        Email:
     San Diego, CA 92130
24   Attn.: TRC MM, LLC                      Attn.:                                       Leases                                                                        $113,462
     4695 MacArthur Court, Newport           Phone: (949) 662-2100
     Beach, CA 92660                         Facsimile: (only if no email)
                                             Email:

25   Attn.: Tango Analytics, LLC             Attn.:                                       Trade Debt                                                                    $111,930
     PO 734054, Dallas, TX 75373-4054        Phone:
                                             Facsimile: (only if no email)
                                             Email:

26   Attn.: SM South, LLC                    Attn.:                                       Leases                                                                        $110,129
     c/o Stirling Properties, LLC            Phone:
     109 Northpark Blvd., Covington, LA      Facsimile: (only if no email)
     70433                                   Email:

27   Attn.: IBM Corporation                  Attn.:                                       Trade Debt                                                                    $110,087
     PO Box 676673, Dallas, TX 75267-        Phone:
     6673                                    Facsimile: (only if no email)
                                             Email:

28   Attn.: Staples Advantage                Attn.:                                       Trade Debt                                                                    $108,368
     PO Box 660409, Dallas, TX 75266-        Phone:
     0409                                    Facsimile: (only if no email)
                                             Email:

29   Attn.: Northline Commons, LLC           Attn.:                                       Leases                                                                        $108,175
     4400 A North Freeway, Houston, TX       Phone: (713) 692-6131
     77022                                   Facsimile: (only if no email)
                                             Email:




 Official Form 204                                     List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 3
                          Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 48 of 53
 Debtor     CEC Entertainment, Inc.                                                                    Case number (if known)
            Name

Name of creditor and complete mailing       Name, telephone number, and email             Nature of the       Indicate if    Amount of unsecured claim
address, including zip code                 address of creditor contact                     claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                         example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                           debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                              loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                          professional
                                                                                          services, and
                                                                                          government
                                                                                            contracts)
                                                                                                                                Total claim, if    Deduction for         Unsecured
                                                                                                                                  partially           value of             claim
                                                                                                                                  secured           collateral or
                                                                                                                                                       setoff
30   Attn.: PK I Fullerton Town Center LP   Attn.:                                      Leases                                                                        $108,100
     c/o BIG Shopping Centers USA Inc.      Phone:
     One E. Washington St., Phoenix, AZ     Facsimile:
     85004                                  Email:




 Official Form 204                                   List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 4
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 49 of 53




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


                                                  §
   In re:                                         §      Chapter 11
                                                  §
   CEC ENTERTAINMENT, INC., et al.,               §      Case No. 20-_____ (___)
                                                  §
                          Debtor.                 §
                                                  §


              CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
               PURSUANT TO FED. R. BANKR. P. 1007(a)(1) AND 7007.1

               Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1,

attached hereto as Exhibit A is an organizational chart reflecting all of the ownership interests in

CEC Entertainment, Inc. (“CEC”) and its affiliated debtors (the “Affiliated Debtors”), as

proposed debtors and debtors in possession in the above-captioned chapter 11 cases (collectively,

the “Debtors”). CEC, on behalf of itself and the Affiliated Debtors, respectfully represents as

follows:

       1.      Each Debtor listed in Exhibit A is 100% owned by its direct parent unless

otherwise noted.

       2.      Queso Holdings Inc. (“Parent”) is the ultimate parent company of each of the

Affiliated Debtors, and directly or indirectly owns a 100% equity interest in each of the Affiliated

Debtors.

       3.      AP VIII CEC Holdings, L.P. owns approximately 98% of the equity of Parent and

the remaining 2% of the equity in Parent is owned by certain employees and director(s) of the

Debtors.
Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 50 of 53




                           Exhibit A

                      Organizational Chart
                                   Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 51 of 53




                                         CEC Entertainment, Inc.
                                                                                 Current and former CEC                       Sponsor
                                                                                       employees                              Affiliates




                                                                                                  Queso Holdings, Inc. [DE]



                                                                                                                                           International Association of
                                                                                                                                           CEC Entertainment, Inc. [TX]
                                                                                                   CEC Entertainment, Inc.                         [Non-debtor]
                                                                                                           [KS]




  CEC Entertainment         BHC Acquisition          SPT Distribution Company,    CEC Entertainment Leasing     CEC Leaseholder, LLC [DE]        CEC Leaseholder #2, LLC       CEC Entertainment           Peter Piper Holdings, Inc.
  Holdings, LLC [NV]        Corporation [TX]                  Inc. [TX]                Company [DE]                                                       [DE]               International, LLC [DE]                 [DE]


        99.9%

0.1%                     Hospitality Distribution                                                                                                                          CEC Entertainment Canada,         Peter Piper, Inc. [AZ]
                           Incorporated [TX]                                                                                                                                      ULC [CAN]
         CEC                                                                                                                                                                      [Non-debtor]
    Entertainment
  Concepts, L.P. [TX]


                        SB Hospitality Corporation                                                                                                                                    Peter Piper Texas, LLC [TX]                 Peter Piper Mexico, LLC
                                  [TX]                                                                                                                                                                                                      [AZ]             99.0%


                                                                                                                                                                                                                                           1.0%

                                                                                                                                                                                        Texas PP Beverage, Inc.                  Peter Piper De Mexico, S.
                                                                                                                                                                                                 [TX]                             De R.L. De C.V. [MEX]
                                                                                                                                                                                                                                        [Non-debtor]
        Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 52 of 53




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


                                                  §
   In re:                                         §      Chapter 11
                                                  §
   CEC ENTERTAINMENT, INC.                        §      Case No. 20-_____ (___)
                                                  §
                                                  §
                          Debtor.                 §
                                                  §

                                 LIST OF EQUITY HOLDERS

       Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following

identifies all holders having a direct or indirect ownership interest, of the above-captioned debtor

in possession.


   Name and Last Known Address of Equity                Kind/Class of            Number of
              Interest Holder                             Interest             Interests Held

              Queso Holdings Inc.
        1707 Market Place Blvd, Suite 200              Common Stock                 100%
              Irving, Texas 75063
                     Case 20-33163 Document 1 Filed in TXSB on 06/24/20 Page 53 of 53




 Fill in this information to identify the case:

 Debtor name: CEC Entertainment, Inc.
 United States Bankruptcy Court for the Southern District of Texas
                                              (State)
 Case number (If known):




Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


              Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
   correct:
   ☐        Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐        Schedule H: Codebtors (Official Form 206H)
   ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐        Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity Holders

   I declare under penalty of perjury that the foregoing is true and correct.



     Executed on June 24, 2020
                                                       /s/ James A. Howell
                                                        Signature of individual signing on behalf of debtor
                      MM / DD /YYYY
                                                        James A. Howell
                                                        Printed name

                                                        Chief Financial Officer
                                                        Position or relationship to debtor




 Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
